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AO 245D (Rev. 11/16) Judgment in a Criminal Case for Revocations

 

Sheet |
UNITED STATES DISTRICT COURT
Northern District of Mississippi
UNITED STATES OF AMERICA Judgment in a Criminal Case
Vv. (For Revocation of Probation or Supervised Release)

Case No. 4:17CR00107-001
USM No. 28561-001
_ Mr. George L. Lucas

Robert Andre Morton

 

Defendant’s Attorney

 

THE DEFENDANT:
EX] admitted guilt to violation of condition(s) _SC8 of the term of supervision.
C1 was found in violation of condition(s) count(s) after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation Number Nature of Violation Violation Ended
SC8 Use of a Controlled Substance-marijuana 05/11/2017
SC8 Use of a Controlled Substance-marijuana 06/13/2017
SC8 Use of a Controlled Substance-marijuana 12/11/2017
The defendant is sentenced as provided in pages 2 through —s 5 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.

L1 The defendant has not violated condition(s) _ ____ and is discharged as to such violation(s) condition.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant’s Soc. Sec. 0546,

‘Date of Imposition of Judgment

Thc HP: OA”

City and State of Defendant’s Residence: Signature of Judge
Shelby, MS 38774

Defendant’s Year of Birth: (1985

 

___.. Michael P. Mills, United States District Judge

 

Name and Title of Judge

 
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Sheet 2— Imprisonment

 

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DEFENDANT: Robert Andre Morton

CASE NUMBER: — 4:17CR00107-001

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:
Six (6) months on Counts | and 3 of the Indictment, to run concurrent with each other.

 

C] The court makes the following recommendations to the Bureau of Prisons:

X The defendant is remanded to the custody of the United States Marshal.

[] The defendant shall surrender to the United States Marshal for this district:
Oa Olam OO) pm. on

[1 as notified by the United States Marshal.

[] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
C1 before 2 p.m. on re

[1 as notified by the United States Marshal.
[1 as notified by the Probation or Pretrial Services Office.

 

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on _ to ee
at oo __ with a certified copy of this judgment.
UNITED STATES MARSHAL —_
By

~ DEPUTY UNITED STATES MARSHAL

 

 

 
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Sheet 3 —- Supervised Release

 

Judgment—Page 3 off 5
DEFENDANT: Robert Andre Morton

CASE NUMBER: = 4:17CR00107-001

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of :
Two (2) years on Count 3 of the Indictment.

 

 

 

MANDATORY CONDITIONS

—

You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
(] The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
substance abuse. (check if applicable)

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X You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

5. [ You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

6. (J You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.

 

 

 

 
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Sheet 3A — Supervised Release

 

 

 

 

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DEFENDANT: Robert Andre Morton
CASE NUMBER: 4:17CR00107-001

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools
needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and
condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
your release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
different time frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
and when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
from the court or the probation officer.

4. You must answer truthfully the questions asked by your probation officer.

5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
officer within 72 hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation
officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation
officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer
within 72 hours of becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
permission of the probation officer.

. Ifyou are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.

12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact
the person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

AUSS. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and
Supervised Release Conditions, available at: www.uscourts.gov.

Defendant's Signature ee — Date

 
 

 

 

 

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Sheet 3D — Supervised Release

 

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DEFENDANT: Robert Andre Morton

CASENUMBER: = 4:17CR_ 107-001

SPECIAL CONDITIONS OF SUPERVISION

The defendant shall pay all restitution as ordered in the original judgment.

2. The defendant shall not incur any new debts (other than normal debts for utilities and rental expense, or mortgage
payments) or open any new lines of credit without permission of the probation officer unless the defendant is in
compliance with the payment of any monetary obligations ordered.

3. The defendant shall participate, under the administrative supervision of the probation officer, in the Drug and Alcohol
Intensive Counseling and Aftercare Service Program (DAICASP) conducted by the probation office (or a comparable
program conducted in the district of supervision).

4. The defendant shall submit his or her person, property, house, residence, vehicle, papers, computers (as defined in 18
U.S.C. § 1030(e)(1)), other electronic communications or data storage devices or media, or office, to a search conducted
by the United States Probation Officer. Failure to submit to a search may be grounds for revocation of release. The
defendant shall warn any other occupants that the premises may be subject to searches pursuant to this condition. An
officer may conduct a search pursuant to this condition only when reasonable suspicion exists that the defendant has
violated a condition of his supervision. Any search must be conducted at a reasonable time and in a reasonable manner.

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